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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                         :
                                         :
KELVIN J. COCHRAN,                       :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :           CIVIL ACTION NO.
                                         :           1:15-CV-0477-LMM
CITY OF ATLANTA, GEORGIA                 :
and MAYOR KASIM REED, in his             :
individual capacity,                     :
                                         :  
            Defendants.                  :


                                    ORDER

      This case comes before the Court on Defendants City of Atlanta, Georgia,

and Mayor Kasim Reed’s Motion for Summary Judgment [105] and Plaintiff’s

Motion for Partial Summary Judgment [107]. 1 This matter concerns whether the

City could fire the Fire Chief of the Atlanta Fire and Rescue Department

(“AFRD”) for publishing a book to be used as a religious guide for men that

contains passages identifying those who engage in homosexual and extramarital

sex as “naked”—or “wicked,” “un-Godly” sinners—whose deaths will be

celebrated. See Cochran Dep., Dkt. No. [154] at 176:24-178:15. Plaintiff contends

that he was fired because of his religious speech—which is grounded in


1Plaintiff’s Motion is titled a “Motion for Summary Judgment” but, as his Motion
does not discuss his free exercise and freedom of association claims, the Court
will treat it as a Motion for Partial Summary Judgment. See Dkt. No. [107].
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conservative Christian principles—in violation of the Constitution, while

Defendants contend that he was fired because he did not comply with the City’s

pre-clearance rules for outside employment and for facilitating a massive public

relations campaign against the Mayor and the City. Defendants also contend that

Plaintiff’s speech made the City potentially vulnerable to employment

discrimination claims and substantial disruption.

   1. Factual Background

      Plaintiff Kelvin J. Cochran was first appointed Fire Chief of the Atlanta Fire

Rescue Department (“AFRD”) in 2008. Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt.

No. [141] ¶ 5. In 2009, Plaintiff left the AFRD to serve as Administrator of the

United States Fire Administration, but he returned ten months later. Id. ¶¶ 6, 9.

Plaintiff remained the AFRD Fire Chief until January 6, 2015. Id. ¶ 129.

      Plaintiff is also a devout evangelical Christian who holds “historic Christian

beliefs” and is a member and Deacon at Elizabeth Baptist Church. Id. ¶¶ 16, 18.

Plaintiff’s Christian views compel him to “honor God in all aspects of his work by

doing everything with excellence throughout his job,” and “compel him to treat

all fire department staff under his command, and all members of the community

he serves, with dignity, justice, equity, and respect, regardless of their personal

traits, characteristics, and beliefs.” Id. ¶¶ 17, 20.

      Plaintiff was generally regarded as an excellent Fire Chief. Id. ¶¶ 29-30. In

2008, when Plaintiff became Atlanta’s Fire Chief, he set out to assemble a group

of firefighters within the AFRD who represented diverse backgrounds,


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characteristics, and beliefs. Id. ¶ 23. Plaintiff knew at least two LGBT employees

were members of this group. Id. ¶ 24. Plaintiff also had experienced racial

discrimination in his early years in fire service, so he worked diligently to ensure

that no one in his command would be mistreated because of his or her

membership in a particular group. Id. ¶ 28.

      In late 2013, Plaintiff wrote and self-published a book entitled “Who Told

You That You Were Naked?: Overcoming the Stronghold of Condemnation.” Id.

¶¶ 38, 44. Plaintiff’s book was inspired by a men’s Bible study at Plaintiff’s

church, which included a unit on God’s question to Adam, “Who told you that you

were naked?” Id. ¶¶ 31-33.2 Plaintiff’s book was written primarily for Christian

men and is intended to help them fulfill God’s purpose for their lives. Id. ¶ 38.

According to Plaintiff, one of the book’s goals is to guide men to live faith-filled,

virtuous lives. Id. ¶ 39.

      The book includes passages indicating that sex was created for procreation

and marital pleasure in holy matrimony, and that sex outside of the confines of

marriage between a man and woman—including fornication, homosexual acts,

and all other types of non-marital sex—is contrary to God’s will. Id. ¶¶ 40-41. The

book also categorizes the following as equally “unclean”—or “whatever is the



2According to Genesis, God created Adam and Eve, and they first lived naked and
unashamed in the Garden of Eden. Following the serpent’s temptation, Adam
and Eve ate the forbidden fruit from the tree of knowledge. Their eyes were then
opened, and at that moment they knew for the first time that they were naked.
God later visited the Garden of Eden, and when Adam and Eve hid from him, he
asked Adam, “Who told you that you were naked?” Genesis 2-3.

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opposite of purity”: “sodomy, homosexuality, lesbianism, pederasty, bestiality,

and all other forms of sexual perversion.” Book, Dkt. No. [106-3] at 20. Plaintiff

claims this list originated from his study of Galatians 5:19-21, which lists 17

“works of the flesh.” Cochran Dep., Dkt. No. [154] at 192:1-6. The City has

admitted that “[t]hese teachings are consistent with the Bible and historic

Christian teaching.” Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶ 42.

      The basic premise of the book is the dichotomy between being “naked” and

“clothed” in the Bible. Pl. Resp. to Defs.’ Stm’t of Facts, Dkt. No. [144] ¶ 33.

According to Plaintiff, a “naked” man is one who lacks a working relationship

with God, and a “clothed” man is one who enjoys a working relationship with God

because he has accepted Jesus Christ as his Lord and Savior. Id. ¶ 34. To become

“clothed,” one must be a born-again Christian. Cochran Dep., Dkt. No. [154]

174:9-10. Essentially, per Plaintiff, “naked means that you’re a sinner, and

clothed means you’re righteous.” Id. at 176:2-4.

      Plaintiff writes that the Bible teaches the following are synonyms for

nakedness: “wicked,” “un-Godly,” “evildoers,” “deceitful,” “mischievous,” and

“loathsome.” Id. at 176:24-178:23. Citing Proverbs, Plaintiff writes that when the

naked die, there is joy and celebration. Id. at 177:16-178:15. And there are not

gradations of nakedness—every person, if naked, is equally sinful. Pl.’s Resp. to

Defs.’ Stm’t of Facts, Dkt. No. [144] ¶ 36. But a clothed person can still

transgress; Plaintiff states that he wrote his book to assist clothed men in




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avoiding “issues” with these works of the flesh through their desire to please God.

Cochran Dep., Dkt. No. [154] at 194:20-195:1, 199:1-3.

      Plaintiff also wrote a section entitled, “You Need to Talk to My Husband.”

Book, Dkt. No. [107-9] at 25. It opens with a hypothetical that discusses what

would have happened if Eve had, instead of eating the forbidden fruit, first told

the serpent that he needed to talk to her husband. Id. Plaintiff suggests that had

Eve first come and spoken to her husband, the Fall3 would not have occurred. Id.

Plaintiff believes those

      words coming from Eve would have empowered and emboldened
      Adam as the protector of Eve and the Garden. He would have
      responded with righteous indignation and killed the serpent on the
      spot—even cut off his head. The scriptural account could have
      possibly been, “And the Spirit of the Lord came upon Adam, and he
      cut off the serpent’s head and they lived happily ever after.”

Id. Plaintiff states that “[u]nfortunately, that’s not what happened.” Id. Rather,

Eve ate the fruit and gave some to her husband. Id.

      Plaintiff maintains that this book is not intended for women, so he was not

concerned with including examples of virtuous, biblical women in his book.

Instead, women were used as an “issue” or “challenge” that men “wrestle with.”

Cochran Dep., Dkt. No. [154] at 189:5-190:2. In the “About the Author” section of

the book, Plaintiff states that he is “currently serving as the Fire Chief of the City




3“The Fall” generally refers to God’s separation from humanity, which was
caused by Adam and Eve’s first sins (disobeying God and eating the fruit of
knowledge). See Genesis 3.

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of Atlanta Fire Rescue Department (GA).” Pl.’s Resp. to Defs.’ Stm’t of Facts, Dkt.

No. [144] ¶ 40.

         The City maintains three pre-clearance rules which require the AFRD Chief

to seek permission from the Board of Ethics and his or her supervisors prior to

beginning any outside employment (hereinafter, “Pre-Clearance Rules”).4

Plaintiff never sought or received permission from the Board of Ethics to sell his

book, and he never discussed his plan to sell his book with either of his

supervisors, Mayor Reed or Chief Operating Officer Michael Geisler. Id. ¶¶ 42-43;

Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶ 90. However, on October 31,

2012, Plaintiff called Nina Hickson, the City of Atlanta Ethics Officer, for advice

about a “non-city-related” book he was authoring. Id. ¶ 35. It is disputed what

was said during this conversation, including whether Plaintiff discussed the

book’s subject matter or if Hickson indicated Plaintiff would need Board of Ethics

approval for such a book. Id. ¶ 44.5

         In early 2014, after the book was published, Plaintiff provided book copies

to between 9 and 12 of his Christian subordinates at the AFRD, all of whom were

either: (1) close personal friends who asked for a copy before it was finished; (2)

employees who asked about the book once they learned of its publication; or (3)

men who Plaintiff gave an unsolicited copy of the book. Cochran Dep., Dkt. No.



4As further explained infra, the Pre-Clearance Rules are codified at Sections 2-
820(d), 114-436, and 114-437 of the City’s Code of Ordinances.

5   As discussed in subsequent sections, this dispute is ultimately not material.

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[154] at 140:2-141:15, 142:11. These subordinates included all four of his Deputy

Chiefs and four of the six Assistant Chiefs. Id. at 216:21-217:18. Plaintiff also

contends that he provided Mayor Reed with a copy via Mayor Reed’s assistant,

though Mayor Reed disputes that fact. Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No.

[141] ¶ 46. From the time the book was published until late 2014, the City did not

receive any complaints about the book. Id. ¶ 49.

      In November 2014, Assistant Chief Wessels—one of Plaintiff’s subordinates

and one of the individuals who had received a copy of the book from Plaintiff

during a work event—brought Plaintiff’s book to the attention of Stephen

Borders, the President of the local firefighter’s union. Id. ¶¶ 50-51. Wessels had

received the book in June or July 2014, but had only just read it. Wessels told

Borders that some passages were disturbing to him—especially because Plaintiff

referred to himself as the Fire Chief in the book. Id. ¶¶ 51, 53.

      Borders then ordered copies of the book online to review himself and,

following that review, took a copy of the book to Councilmember Alex Wan to

seek his advice about how the City should handle the book. Id. ¶ 54. Borders

expressed concern to Wan about the content of the book and its distribution at

work. Id. ¶ 58. Councilman Wan then read the book and shared Borders’s

concerns about the passages that referenced the gay and lesbian community,

specifically a risk of discrimination against LGBT members of the AFRD. Id. ¶ 59.

      At the same time Borders approached Councilman Wan, another member

of the union board contacted retired AFRD Chief Cindy Thompson, who


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happened to be in Atlanta at the time. Id. ¶ 61. Borders then had lunch with

Thompson and showed her the book. Id. ¶ 64. On November 23, 2014, Thompson

sent an email to Mayor Reed’s LGBT Advisor, Robin Shahar, stating that she and

other LGBT firefighters she knew were extremely insulted and saddened by the

book’s discriminatory text. Id. ¶ 65.

      Meanwhile, Councilman Wan decided the book presented a human

resources matter. He delivered a copy of the book to City of Atlanta Human

Resources Commissioner Yvonne Yancy on November 19, 2014. Id. ¶¶ 66-68.

Wan advised Yancy that a current firefighter had brought the book to his

attention, and that he was concerned with both the book’s sexual morality

passages and Plaintiff’s references to himself as AFRD Chief. Id. ¶¶ 68-69. Wan

also told her that he was concerned employees who found the book offensive were

going to protest at a fire foundation breakfast later that week. Id. ¶¶ 77-78.

      Yancy read the book the next day. She was concerned that Plaintiff had not

received City permission to write the book, despite referring to himself as Fire

Chief. And she thought the content of the book could implicate Title VII and

other local laws, specifically with regard to gender and sexual orientation

discrimination. Id. ¶¶ 71-76. Yancy then took the book to Mayor Reed, who read

it. He testified that he did not agree with—and was offended by—many of the

comments that were insensitive to women and the LGBT and Jewish

communities. Id. ¶¶ 79-82. Yancy eventually concluded that, based upon the

beliefs espoused in the book and Plaintiff’s connection of the book to his position,


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a Title VII investigation would need to occur to determine if Plaintiff’s views

affected his departmental leadership. Id. ¶ 84. Mayor Reed instructed Yancy to

investigate whether Plaintiff had received Board of Ethics approval and to

forward her concerns to City Attorney Cathy Hampton. Pl.’s Resp. to Defs.’ Stm’t

of Facts, Dkt. No. [144] ¶ 55.

      On November 24, 2014, a meeting was held in Yancy’s Office with Plaintiff,

Yancy, Chief of Staff Candace Byrd, and Law Department representative Robert

Godfrey present. Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶ 87. Plaintiff

was suspended for 30 days without pay, told the City would investigate the

matter, and advised that he would need to attend sensitivity training. Id. ¶ 88. It

is disputed, however, what Plaintiff was told regarding what he could say publicly

regarding his suspension: the City contends it told him not to comment publicly

at all, but Plaintiff contends he was only told not to conduct media interviews.

Pl.’s Resp. to Defs.’ Stm’t of Facts, Dkt. No. [144] ¶¶ 61-62.

      At the meeting, the City expressed concerns with the content of Plaintiff’s

book and that he had not complied with City policy to obtain permission from the

Board of Ethics and Mayor about the book prior to writing and publishing it.

Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶¶ 89-95. Yancy recommended

terminating Plaintiff, but Mayor Reed instead elected to impose a 30 day

suspension. Pl.’s Resp. to Defs.’ Stm’t of Facts, Dkt. No. [144] ¶¶ 58-59.

      In a statement issued November 24, 2014, Mayor Reed stated “I

profoundly disagree with and am deeply disturbed by the sentiments expressed in


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the paperback regarding the LGBT community,” and “the material in Chief

Cochran’s book is not representative of my personal beliefs, and is inconsistent

with the Administration’s work to make Atlanta a more welcoming city for all of

her citizens—regardless of their sexual orientation, gender, race and religious

beliefs.” Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶¶ 98-100. Mayor

Reed’s Facebook page stated that “[t]he contents of the book do not reflect the

views of Mayor Reed or the Administration.” Facebook Post, Dkt. No. [107-8] at

2. City Councilmember Wan made a statement to the Atlanta Journal

Constitution that “I respect each individual’s right to have their own thoughts,

beliefs and opinions, but when you’re a city employee, and those thoughts, beliefs

and opinions are different from the city’s, you have to check them at the door.”

Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶ 102. Shahar also invited Anti-

Defamation League (“ADL”) members to give their opinions about the book.

Following a meeting with the City, the ADL sent Mayor Reed a letter that the

statements in Plaintiff’s book blatantly contradicted the City’s non-discrimination

policy. Id. ¶¶ 105-111.

      During his suspension, Plaintiff interacted with many members of the

public regarding his situation. Plaintiff exchanged emails with two members of

the public in which he described his situation as a time of “spiritual warfare” and

stated that he was “grateful for this divine opportunity to suffer this for Christ

and rejoicing every day.” Pl.’s Resp. to Defs.’ Stm’t of Facts, Dkt. No. [144] ¶¶ 63-

64. Plaintiff also provided his testimony at the Georgia Baptist Convention’s


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(“GBC”) executive committee meeting, a group of 200 pastors. Id. ¶¶ 65-67. The

GBC later: published a web-based editorial criticizing Plaintiff’s suspension;

created an online petition linked to a forum through which Plaintiff’s book could

be purchased; instituted a social media campaign to pressure the Mayor to

reinstitute Plaintiff; and, posted Plaintiff’s testimony to its website. Id. ¶ 67. It is

undisputed that Plaintiff reviewed the proposed editorial prior to publishing, but

it is disputed whether Plaintiff “coordinated” with the GBC or was merely

generally aware of its actions. Id.

      Another Christian fire chief from Virginia, Ed Elliot, also began a social

media campaign that called on the Mayor to reinstitute Plaintiff. While it is

disputed whether Plaintiff affirmatively enlisted his assistance, it is undisputed

that Plaintiff did not deny his assistance. Cochran Dep., Dkt. No. [154] at 264:3-5,

268:23-269:5. Plaintiff also spoke at two churches that invited him during his

suspension. Pl.’s Resp. to Defs.’ Stm’t of Facts, Dkt. No. [144] ¶ 69.

      During Plaintiff’s suspension, Mayor Reed received thousands of angry

emails.6 Pl.’s Resp. to Defs.’ Stm’t of Facts, Dkt. No. [144] ¶ 68. Mayor Reed also

received phone calls to his home in which he was called a racial slur, the Anti-

Christ, and a terrorist. Some calls even included death threats. Id. ¶ 70.

      The City contends it initially intended to bring Cochran back to work after

his suspension, assuming the Title VII investigation revealed that Plaintiff had

6The exact number is disputed. Mayor Reed testified that he “stopped counting”
at 10,000 emails but also stated 17,000 people contacted him. Compare Reed
Dep., Dkt. No. [130] at 136:20, with id. at 151:22.

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not discriminated against anyone because of the views expressed in his book.

Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶¶ 112-16. The Title VII

investigation by the Law Department concluded that “[n]o interviewed witness

could point to a specific instance in which any member of the organization has

been treated unfairly by Chief Cochran on the basis of his religious beliefs.” Id. ¶

118. But it also concluded that Plaintiff had not obtained the Board of Ethics’s

approval in violation of Section 2-280(d) of the City’s Ethics Code. Pl.’s Resp. to

Defs.’ Stm’t of Facts, Dkt. No. [144] ¶ 72. And that “[t]here . . . is general

agreement the contents of the book have eroded trust and have compromised the

ability of the chief to provide leadership in the future.” Id. ¶ 73.

      On January 6, 2015, the day Plaintiff’s unpaid suspension ended, the City

fired Plaintiff. Defs.’ Resp. to Pl.’s Stm’t of Facts, Dkt. No. [141] ¶ 129. Why is

hotly disputed. Plaintiff contends he was fired because of the book’s content. The

City contends he was fired because (1) he did not comply with the Pre-Clearance

Rules; and (2) he refused to comply with the directive not to comment publicly on

his suspension, instead instituting a firestorm and “falsely perpetuating the

narrative that [Plaintiff] was being punished for his religious beliefs, and

encourag[ing] and facilitat[ing] a massive PR campaign against the Mayor

personally.” Id. ¶ 131.

      Plaintiff subsequently filed suit against the City and Mayor Reed. Following

the Court’s rulings on Defendants’ Motion to Dismiss, Plaintiff now asserts the

following claims under 42 U.S.C. § 1983 against the City of Atlanta and Mayor


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Reed for violation of his constitutional rights: First Amendment free speech and

freedom of association retaliation; unlawful prior restraint and unbridled

discretion in violation of the First Amendment; violation of the First Amendment

right to the free exercise of religion and the no religious tests clause of article VI,

cl. 3 of the Constitution; and, violation of the Fourteenth Amendment right to

procedural due process. Defendants move for summary judgment on all of

Plaintiff’s claims, and Plaintiff moves for summary judgment on all of his claims

except those grounded in the free exercise and freedom of association clauses of

the First Amendment.

   2. Legal Standards

        Federal Rule of Civil Procedure 56 provides “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a).

        A factual dispute is genuine if the evidence would allow a reasonable jury to

find for the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A fact is “material” if it is “a legal element of the claim under the

applicable substantive law which might affect the outcome of the case.” Allen v.

Tyson Foods, Inc., 121 F.3d 642, 646 (11th Cir. 1997) (citing Anderson, 477 U.S. at

248).

        The moving party bears the initial burden of showing the Court, by

reference to materials in the record, that there is no genuine dispute as to any


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material fact that should be decided at trial. Hickson Corp. v. N. Crossarm Co.,

357 F.3d 1256, 1260 (11th Cir. 2004) (citing Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986)). The moving party’s burden is discharged merely by “‘showing’—that

is, pointing out to the district court—that there is an absence of evidence to

support [an essential element of] the nonmoving party’s case.” Celotex Corp., 477

U.S. at 325. In determining whether the moving party has met this burden, the

district court must view the evidence and all factual inferences in the light most

favorable to the party opposing the motion. Johnson v. Clifton, 74 F.3d 1087,

1090 (11th Cir. 1996).

      Once the moving party has adequately supported its motion, the non-

movant then has the burden of showing that summary judgment is improper by

coming forward with specific facts showing a genuine dispute. Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). There is no “genuine

[dispute] for trial” “when the record taken as a whole could not lead a rational

trier of fact to find for the nonmoving party.” Id. (citations omitted). All

reasonable doubts, however, are resolved in the favor of the non-movant.

Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1115 (11th Cir. 1993).

      The same standard of review applies to cross-motions for summary

judgment, but the Court must determine whether either of the parties deserves

judgment as a matter of law on the undisputed facts. S. Pilot Ins. Co. v. CECS,

Inc., 52 F. Supp. 3d 1240, 1242-43 (N.D. Ga. 2014) (citing Am. Bankers Ins. Grp.

v. United States, 408 F.3d 1328, 1331 (11th Cir. 2005)). Each motion must be


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considered “on its own merits, [with] all reasonable inferences [resolved] against

the party whose motion is under consideration.” Id. at 1243.

   3. Analysis

      Plaintiff has brought claims against Defendants under 42 U.S.C. § 1983 for

violating his constitutional rights. To prevail in a Section 1983 civil rights action,

“a plaintiff must make a prima facie showing of two elements: (1) that the act or

omission deprived plaintiff of a right, privilege or immunity secured by the

Constitution or laws of the United States, and (2) that the act or omission was

done by a person acting under color of law.” Marshall Cty. Bd. of Educ. v.

Marshall Cty. Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993) (quoting Bannum,

Inc. v. City of Ft. Lauderdale, 901 F.2d 989, 996-97 (11th Cir. 1990)). It is

undisputed Defendants were acting under color of law in regard to Plaintiff’s

claims. Thus, the Court must determine whether Defendants’ conduct violated

the Constitution.

      Plaintiff has brought three First Amendment claims which ultimately go to

his alleged speech-based firing: (1) free speech retaliation; (2) freedom of

association retaliation; and (3) viewpoint discrimination. Plaintiff has also

brought claims which contend that the City’s Pre-Clearance Rules are

unconstitutional because they are: (1) a prior restraint; (2) an exercise of

unbridled discretion; and (3) a violation of the First Amendment free exercise of

religion clause and the no religious tests clause of article VI, cl. 3 of the

Constitution. Additionally, Plaintiff contends that Defendants fired him in


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violation of the procedural due process clause of the Fourteenth Amendment. The

Court will consider each claim in turn.

          a. Free Speech Retaliation

      Plaintiff first claims the City terminated him in retaliation for exercising

his First Amendment right to free speech. The City disagrees and argues that

Plaintiff’s claims fail because (1) the City’s interest as an employer outweighed the

Plaintiff’s interest as a citizen; and (2) Plaintiff was not fired because of his book.

      A public employer may not terminate a public employee in retaliation for

speech protected by the First Amendment. Alves v. Bd. of Regents, 804 F.3d

1149, 1159 (11th Cir. 2015) (citing Bryson v. City of Waycross, 888 F.2d 1562, 1565

(11th Cir. 1989)). Although a citizen “must accept certain limitations on [her]

freedom[s] upon entering government service, she does not relinquish the First

Amendment rights [she] would otherwise enjoy as [a citizen] to comment on

matters of public interest.” Id. (alterations in original) (citation omitted).

Therefore, the goal is to “arrive at a balance between the interests of the

[employee], as a citizen, in commenting upon matters of public concern and the

interest of the [City], as an employer, in promoting the efficiency of the public

services it performs through its employees.” Pickering v. Bd. of Educ., 391 U.S.

563, 568 (1968).

      The Supreme Court employs a four-part test based on Pickering and its

progeny to determine whether a public employee can prove retaliation in

violation of the First Amendment. Cook v. Gwinnett Cty. Sch. Dist., 414 F.3d


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1313, 1318 (11th Cir. 2005). “To prevail under this analysis, an employee must

show that: (1) the speech involved a matter of public concern; (2) the employee’s

free speech interests outweighed the employer’s interest in effective and efficient

fulfillment of its responsibilities; and (3) the speech played a substantial part in

the adverse employment action.” Id. If the employee establishes the first three

elements, the burden then shifts to the government to prove by a preponderance

of the evidence it would have reached the same decision absent the protected

speech. Leslie v. Hancock Cty. Bd. of Educ., 720 F.3d 1338, 1346 (11th Cir. 2013).

“The first two steps are questions of law; the final two steps are ‘questions of fact

designed to determine whether the alleged adverse employment action was in

retaliation for the protected speech.’” Cook, 414 F.3d at 1318 (quoting Anderson

v. Burke Cty., 239 F.3d 1216, 1219–20 (11th Cir. 2001)).

      The City does not oppose Plaintiff’s contention that he spoke on a matter of

public concern. See LR 7.1B, NDGa. Thus, the Court will only address the

remaining, relevant Pickering factors.

                i. Pickering Balancing

      Because it is admitted that Plaintiff’s book addressed a matter of public

concern, Pickering requires the Court to balance Plaintiff’s First Amendment

interests against the City’s interest “in promoting the efficiency of the public

services it performs through its employees.” Pickering, 391 U.S. at 568; see also

Garcetti v. Ceballos, 547 U.S. 410, 418 (2006) (“A government entity has broader

discretion to restrict speech when it acts in its role as employer, but the


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restrictions it imposes must be directed at speech that has some potential to

affect the entity’s operations.”). The Supreme Court instructs that this is a

decision to be made by the Court rather than a jury. Cook, 414 F.3d at 1318.

      The district court’s “pertinent considerations [include] whether the

statement impairs discipline by superiors or harmony among co-workers, has a

detrimental impact on close working relationships for which personal loyalty and

confidence are necessary, or impedes the performance of the speaker's duties or

interferes with the regular operation of the enterprise.” Rankin v. McPherson,

483 U.S. 378, 388 (1987) (citing Pickering, 391 U.S. at 570-73). “The

government’s legitimate interest in avoiding disruption does not require proof of

actual disruption. Reasonable possibility of adverse harm is all that is required.”

Moss v. City of Pembroke Pines, 782 F.3d 613, 622 (11th Cir. 2015) (citing

Anderson, 239 F.3d at 1220-21). And “the statement will not be considered in a

vacuum; the manner, time, and place of the employee’s expression are relevant,

as is the context in which the dispute arose.” Rankin, 483 U.S. at 388.

      Taking the facts most favorable to Plaintiff, the Court finds that the

Pickering balance weighs in favor of the City. Although Plaintiff contends that the

book was addressed to Christian men, the book was disseminated by a supervisor

at the workplace—as opposed to completely off-campus—and was even

distributed unsolicited to at least three individuals. At least one such employee

felt the subject matter of the book was sufficiently concerning such that he gave




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the book to the union President, and the union President then disseminated it

more broadly to City officials.

      The potential Title VII implications that Plaintiff’s speech caused are also

strong factors in the City’s favor. The City was concerned that Plaintiff’s book had

exposed the City to hostile work environment liability if Plaintiff had treated

subordinates differently based upon the views he had expressed in the book.

Yancy Dep., Dkt. No. [129] at 68:2-20. In conducting a Title VII investigation,

while the report revealed no actual evidence of discrimination, it was reported to

Mayor Reed that firefighters throughout the organization were “appalled” by the

book’s sentiments and that the book “eroded trust” among the AFRD. Report,

Dkt. No. [107-11] at 4-5. It is also reasonably possible that an employee would

have used the book as purported evidence of discriminatory animus going

forward, even if that employee did not suffer actual discrimination.

      The Court also finds that Plaintiff’s status as the Fire Chief—and thus the

head of a safety agency—also favors the City. Because Plaintiff expressed his

opinion that the death of all individuals who engage in homosexual and

extramarital sex would be celebrated,7 it was not unreasonable for the City to fear



7Plaintiff argues that because he also contends that “all have sinned” and all
“need a Savior,” Plaintiff’s specific assertion was not a condemnation of
homosexuals. See Dkt. No. [143] at 14 n.4. But the Court finds that even taking
the facts most favorable to Plaintiff, it is uncontroverted that Plaintiff states those
who engage in homosexual and extramarital sex—like those who engage in
pederasty and bestiality, among others—are unclean and their deaths will be
celebrated, regardless of whether others may also need a Savior for redemption.
See Dkt. No. [106-3] at 20, 22-23.

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public erosion of trust in the Fire Department. See Grutzmacher v. Howard Cty.,

851 F.3d 332, 346 (4th Cir. 2017) (“[T]he expressive activities of a highly placed

supervisory . . . employee will be more disruptive to the operation of the

workplace than similar activity by a low level employee with little authority or

discretion.”). The Court could foresee individuals who might contend their fire

department response time was not sufficient because of their sexual orientation

or otherwise, regardless of the veracity of that claim. See Lumpkin v. Brown, 109

F.3d 1498, 1500 (9th Cir. 1997) (holding a minister’s termination from his role as

a San Francisco Human Rights Commission member did not violate the First

Amendment as by condemning homosexuality as a sin, his statements were “at

war” with his mission to eliminate prejudice against the LGBT community,

among others).

       Nor was it unreasonable to fear that Plaintiff’s employees—who are

required to risk their lives daily—would be unwilling or unable to rely on

Plaintiff’s leadership given his views about them. As the Eleventh Circuit has

acknowledged, there is “a heightened need for order, loyalty, and harmony in a

quasi-military organization such as a police or fire department.” Moss, 782 F.3d

at 621 (citing Anderson, 239 F.3d at 1222); see also Grutzmacher, 851 F.3d at 345

(“‘[F]ire companies have a strong interest in the promotion of camaraderie and

efficiency’ as well as ‘internal harmony [and] trust,’ and therefore we accord

‘substantial weight’ to a fire department's interest in limiting dissension and

discord.” (quoting Goldstein v. Chestnut Ridge Volunteer Fire Co., 218 F.3d 337,


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355 (4th Cir. 2000))). As the City’s Law Department reported to Mayor Reed,

there was “general agreement the contents of [Cochran’s] book ha[d] eroded trust

and ha[d] compromised [his] ability . . . to provide leadership in the future.”

Report, Dkt. No. [107-11] at 5.8 And it is not unreasonable to think that it would

have been difficult to recruit LGBT individuals going forward, contrary to the

City’s inclusive mission. See Garcetti, 547 U.S. at 419 (“Public employees,

moreover, often occupy trusted positions in society. When they speak out, they

can express views that contravene governmental policies or impair the proper

performance of governmental functions.”); Snipes v. Volusia Cty., ___ F. App’x

___, 2017 WL 3588273, at *4 (11th Cir. Aug. 21, 2017) (per curiam) (affirming

the County’s firing of a law enforcement officer who had made several racially

insensitive comments on his Facebook page and in group text messages because

“if the County had not terminated Snipes it was reasonably possible that there

would have been substantial protests and rallies in the community, that the

Beach Patrol's ability to recruit new members from the African-American

community would have been hindered, and that the public’s confidence in the




8 Plaintiff summarily argues that this statement is inadmissible hearsay, which
the Court cannot consider on summary judgment. See Pl. Opp. Br., Dkt. No. [143]
at 12-13 n.2. However, the Court finds that the City is not using this statement
for the truth of the matter, but rather to show what Mayor Reed was told about
the level of disruption at the time he made his firing decision. See Fed. R. Evid.
801(c)(2). Because the Court finds the statement is not being offered for the truth
of the matter, and Pickering balancing would support the City even in the absence
of such evidence, the Court declines to decide at this time whether the report is
non-hearsay under another exception, such as Federal Rule of Evidence 803(8).

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Beach Patrol—and perhaps all County law enforcement—would have been

adversely affected.”).

      The Court also finds that the actual disruption in this matter, and the

context in which it arose, support the City’s firing decision. Plaintiff’s book was

brought to the City’s attention in late 2014 when LGBT rights, and specifically gay

marriage, were hotly debated in anticipation of the Supreme Court’s

consideration of Obergefell v. Hodges, 576 U.S. ___, 135 S. Ct. 2584 (2015).9 It is

undisputed that Plaintiff “accepted support” of a social media campaign aimed at

reversing his suspension which led to Mayor Reed receiving thousands of emails,

both for and against Plaintiff’s suspension. Pl.’s Resp. to Defs.’ Stm’t of Facts,

Dkt. No. [144] ¶ 68. Mayor Reed also received phone calls to his home in which

he was called a racial slur, the Anti-Christ, and a terrorist. Some calls even

included death threats. Id. ¶ 70.

      In balancing all of the Pickering factors, Plaintiff’s speech caused such an

actual and possible disruption that it does not warrant First Amendment

protection in the workplace, based upon Supreme Court and Eleventh Circuit



9 Plaintiff argued at the hearing that because the book existed in the workplace
for 10-11 months without incident, the City cannot claim the book caused a
disruption. However, because Plaintiff’s speech was within a book whose content
must be read and disseminated—as opposed to a widely publicized medium, such
as a press conference, in which thousands of people would hear the speech at
publication time—the Court cannot find as a matter of law the subject matter of
the book was non-disruptive merely because there was a time period in which no
reaction occurred. It is uncontroverted that once the book was publicized, it
produced a disruption. The Court does not find that divisive speech is non-
disruptive merely because it was not initially widely distributed.

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precedent. See Moss, 782 F.3d at 618 (stating that if a plaintiff cannot survive the

first two Pickering factors, the speech does not warrant First Amendment

protection). “As a private citizen, [Plaintiff] is perfectly free to preach vigorously

and robustly that homosexuality is a sin. But he did not enjoy that same

unrestrained freedom while he occupied the important and prestigious office of a

[Fire Chief].” Lumpkin, 109 F.3d at 1501. Plaintiff was also not entitled to

exercise his free speech rights in the workplace when there is a “[r]easonable

possibility of adverse harm.” Moss, 782 F.3d at 622. The City’s Motion for

Summary Judgment is GRANTED and Plaintiff’s Motion for Summary

Judgment is DENIED as to Plaintiff’s First Amendment Free Speech Retaliation

claim.

            b. Freedom of Association Retaliation

         The City next moves for summary judgment on Plaintiff’s freedom of

association claim. Plaintiff contends that the City retaliated against him for

associating with his church when it fired him. “As with [his] free speech claim,

the law is clearly established that public employees have a First Amendment right

to engage in associative activity without retaliation.” Cook, 414 F.3d at 1320. “In

analyzing free association claims in this context, we do not apply the public

concern portion of the Pickering analysis. We do, however, apply the Pickering

balancing test.” Id. (internal citation omitted).

         For the reasons stated above with respect to Plaintiff’s free speech

retaliation claim, Plaintiff’s interest in associating with his church through this


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publication was outweighed by the City’s countervailing interests. See Pickering,

391 U.S. at 568. The City’s Motion for Summary Judgment is GRANTED and

Plaintiff’s Motion for Summary Judgment is DENIED as to Plaintiff’s First

Amendment Freedom of Association Retaliation claim.

         c. Viewpoint Discrimination

      Plaintiff and the City move for summary judgment on Plaintiff’s viewpoint

discrimination claim. Plaintiff argues that he was terminated because the City

disagreed with his book’s contents, and that the City must satisfy strict scrutiny

for its conduct in firing and suspending him due to his book’s content. Pl.’s MSJ,

Dkt. No. [139] at 32 (“In this case, Defendant consistently repudiated the beliefs

expressed in Chief Cochran’s book and predicated his suspension and

termination upon its substantive disagreement with the book’s contents.”). In

support of this argument, Plaintiff has cited cases which involve private speech

on public land (where courts conduct a forum analysis) or generally applicable

laws that discriminate based on content. See Reed v. Town of Gilbert, Ariz., 576

U.S. ___, 135 S. Ct. 2218, 2226 (2015) (“Content-based laws—those that target

speech based on its communicative content—are presumptively unconstitutional

and may be justified only if the government proves that they are narrowly

tailored to serve compelling state interests.”); Rosenberger v. Rector & Visitors of

Univ. of Va., 515 U.S. 819, 829 (1995) (“These principles provide the framework

forbidding the State to exercise viewpoint discrimination, even when the limited

public forum is one of its own creation.” (emphasis added)); Lamb’s Chapel v.


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Ctr. Moriches Union Free Sch. Dist., 508 U.S. 384, 391 (1993) (conducting a

forum analysis to find that the school district could not prevent a religious film

from being played on its property because the property had “repeatedly been

used by a wide variety of private organizations,” among others).

      In advance of the hearing, the Court asked the parties to address whether

Plaintiff can mount a separate viewpoint discrimination claim apart from his

First Amendment retaliation claim.10 The Court noted that Plaintiff’s approach

appeared to be problematic in that the Eleventh Circuit has made clear that if

Plaintiff cannot prove the first two Pickering factors, then the speech is not

protected by the First Amendment and any firing based on that speech would

accordingly be constitutional. Moss, 782 F.3d at 618 (“The court's resolution [of

the first two prongs of the Pickering analysis] determines whether Plaintiff's

speech is protected by the First Amendment.” (citing Battle, 468 F.3d at 760)).

Therefore, the Court had the parties address whether it would be incongruent for

a city to be allowed to fire an employee because of his unprotected speech, but yet

be subject to a viewpoint discrimination claim for that same firing.




10 The City had contended in its briefing that: (1) Cochran was not fired for his
beliefs but his non-compliance with City policies, among others; and (2) the City
is entitled to express its own social views under the government speech
framework of Walker v. Texas Division, Sons of Confederate Veterans, Inc., 576
U.S. ___, 135 S. Ct. 2239 (2015). Id. at 2245 (“When government speaks, it is not
barred by the Free Speech Clause from determining the content of what it says.”).
But Walker and its progeny do not appear to apply here as this case does not
involve literal government speech (for example, license plates and park
monuments) but rather employee firings, which are governed by Pickering.

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      At the hearing, Plaintiff again contended that a viewpoint discrimination

claim would be viable separate and apart from his First Amendment retaliation

claim. But again, Plaintiff cited forum cases—that is, cases in which a private

person seeks to speak on government property—as opposed to cases in which a

former governmental employee was able to mount a separate viewpoint

discrimination claim based upon his or her speech-based firing, as Plaintiff

contends here. See Cook, 414 F.3d at 1321 (conducting a forum analysis to

determine if the school district’s refusal to distribute the plaintiff’s union food

drive flyer in employee paycheck envelopes and its internal mail system (i.e., a

non-public forum) constituted viewpoint discrimination under the equal

protection clause); Tucker v. State of Cal. Dep’t of Educ., 97 F.3d 1204, 1213 (9th

Cir. 1996) (“The interior walls of the offices of the Child Nutrition and Food

Distribution Division are neither a public forum, nor a limited purpose public

forum.”).

      In response, the City argued that a viewpoint discrimination claim could

not be mounted separately in the government firing context. In support, the City

cited Berry v. Department of Social Services, 447 F.3d 642 (9th Cir. 2006), and

Knight v. Connecticut Department of Public Health, 275 F.3d 156 (2d Cir. 2001),

arguing that when faced with similar circumstances, the Ninth and Second

Circuits applied Pickering in lieu of strict scrutiny because of the government’s

interest as an employer in such situations. See Berry, 447 F.3d at 651-52 (holding

that plaintiff’s viewpoint discrimination claim, which was based on defendant’s


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refusal to allow him to display his Bible or a “Happy Birthday Jesus” sign in his

office, was subject to Pickering balancing and that “[d]isplaying the Bible

implicitly endorses a religious message and it is precisely that message which the

Department reasonably seeks to avoid.”); Knight, 275 F.3d at 166-67 (holding

that for the plaintiffs’ hybrid claims—or claims in which the plaintiffs contended

more than one of their constitutional rights was violated—Pickering balancing

would still apply instead of strict scrutiny “due to the state’s significant interest in

regulating the expressive conduct of its employees while they are acting on behalf

of the state”).

       The Court finds that Pickering is the appropriate test to assess Plaintiff’s

viewpoint discrimination claim. This balancing appropriately acknowledges the

City’s unique position as an employer in its firing decision, and it appropriately

balances the employee’s interest with that of the employer. See Waters v.

Churchill, 511 U.S. 661, 674 (1994) (“[C]onstitutional review of government

employment decisions must rest on different principles than review of speech

restraints imposed by the government as sovereign.”). A contrary finding would

defy not only the Supreme Court’s precedent but also common sense. For

example, if a public employer could constitutionally fire an employee for using

racial slurs in the workplace under Pickering, under Plaintiff’s reasoning, that

employee could later prevail in a viewpoint discrimination claim by showing that

the public employer did not fire employees who promoted racial equality. In

other words, the Supreme Court has established the test to evaluate a city's firing


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of an employee based on speech—Pickering—and that test is the most

appropriate for any of Plaintiff's claims based upon his alleged speech-based

firing.

          Thus, because the Court finds that Pickering applies, the City’s Motion for

Summary Judgment is GRANTED and Plaintiff’s Motion for Summary

Judgment is DENIED as to Plaintiff’s First Amendment Viewpoint

Discrimination claim, for the reasons stated above.

             d. Challenges to the City’s Pre-Clearance Policies

          The City also moves for summary judgment on all of Plaintiff’s challenges

to its Pre-Clearance Rules,11 and Plaintiff has moved for summary judgment on

all of his challenges to the Pre-Clearance Rules except those grounded in the

freedom of association and free exercise of religion clauses.

          In relevant part, Section 2-820(d) states:

          [D]epartment heads . . . shall not engage in any private employment
          or render any services for private interests for remuneration,
          regardless of whether such employment or service is compatible with
          or adverse to the proper discharge of the official duties of such
          employee. However, the employees named in this paragraph may
          engage in private employment or render services for private interests
          only upon obtaining prior written approval from the board of ethics
          in accordance with this paragraph. The board of ethics shall review

11Plaintiff argues that there is an “unwritten rule” that he was required to obtain
Mayor Reed’s permission before publishing the book, but it appears this
requirement is codified at Section 114-437(a). Id. (“No employee shall perform
outside employment without having first filed a written request with such
employee's department head for permission to engage in outside employment.
Such request shall state the type and duration of employment, the hours of work,
the name and business address of the prospective employer and the location of
the place at which such employee shall be engaged in outside employment.”).

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      each request individually and provide written approval or
      disapproval of the notification within 30 days. All requests for
      approval of outside employment shall state the type and place of
      employment, the hours of work, and the employer’s name and
      address. City employment shall remain the first priority of the
      employee, and if at any time the outside employment interferes with
      city job requirements or performance, the official or employee shall
      be required to modify the conditions of the outside employment or
      terminate either the outside employment or the city employment.
      This paragraph shall not apply to single speaking engagements or
      to participation in conferences or on professional panels; provided,
      however, that any expense reimbursements received for such
      engagements must be reported in accordance with section 2-815.

Dkt. No. [106-1] at 152 (emphasis added). Further, Section 114-436 states:

      Outside employment shall constitute any paid employment of an
      employee which is in addition to such employee's employment with
      the city. As related to one’s employment with the city, outside
      employment shall only be allowed under the following conditions:

      (1) Such employment shall not interfere with or affect the
      performance of the employee’s duties.

      (2) Such employment shall not involve a conflict of interest or a
      conflict with the employee’s duties.

      (3) Such employment shall not involve the performance of duties
      which the employee should perform as part of such employee’s
      employment with the city.

      (4) Such employment shall not occur during the employee’s regular
      or assigned working hours, unless the employee is on either annual
      leave, compensatory leave or leave without pay.

      (5) No employee engaging in outside employment shall work at such
      outside employment for a longer period of time than that stated in
      the employee’s request for permission to engage in such
      employment.

      (6) Such employment shall be conditioned upon the employee’s
      being relieved immediately for the return to and performance of the



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      duties of such employee's employment with the city, if such
      employee should be called for emergency service.

      (7) Such employment shall not involve the use of records or
      equipment of the city. Police uniforms shall not be considered
      equipment in the meaning of this subsection.

And Section 114-437 further sets out the Outside Employment procedure:

      (a) No employee shall perform outside employment without having
      first filed a written request with such employee’s department head
      for permission to engage in outside employment. Such request shall
      state the type and duration of employment, the hours of work, the
      name and business address of the prospective employer and the
      location of the place at which such employee shall be engaged in
      outside employment.

      (b) The department head shall have the right to deny the request or
      approve the request, provided that such employment is in
      compliance with section 114-436.

      (c) The finance/executive committee of the city council shall be
      notified when outside employment has been approved for employees
      whose appointments are subject to city council confirmation. Such
      notification shall be accompanied by a copy of the written request
      required by subsection (a) above.

The Court will address Plaintiff’s challenges to the Pre-Clearance Rules in the

following order: (1) prior restraint; (2) unbridled discretion; and (3) free exercise

and no religious test claims.

                i. Prior Restraint

      The parties first move for summary judgment on Plaintiff’s contention that

the Pre-Clearance Rules constitute an unconstitutional prior restraint on speech.

The parties disagree, however, on the standard the Court should use in evaluating

this claim. The parties do agree that “Congress may impose restraints on the job-



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related speech of public employees that would be plainly unconstitutional if

applied to the public at large.” United States v. Nat’l Treasury Emps. Union, 513

U.S. 454, 465 (1995) [hereinafter NTEU]. Because the Court finds NTEU squarely

applies to this case and should be used as the standard for evaluating the

constitutionality of the Pre-Clearance Rules, a brief discussion of that case is

necessary.

      In NTEU, the Supreme Court was required to determine the

constitutionality of an honoraria ban that Congress had implemented to prevent

any federal employee from receiving compensation for “an appearance, speech or

article (including a series of appearances, speeches, or articles if the subject

matter is directly related to the individual’s official duties or the payment is made

because of the individual's status with the Government).” Id. at 459-60. Two

unions and several career civil servants sued, contending the ban violated the

First Amendment as an unconstitutional prior restraint. Id. at 461.

      The Supreme Court first set out the test it would use in evaluating such

claims: “[w]hen a court is required to determine the validity of such a restraint, it

must ‘arrive at a balance between the interests of the [employee], of a citizen, in

commenting upon matters of public concern and the interest of the State, as an

employer, in promoting the efficiency of the public services it performs through

its employees.’” Id. at 466 (quoting Pickering, 391 U.S. at 568). The Supreme

Court further clarified that when courts review a ban that “chills potential speech

before it happens,” as opposed to a post-hoc review of an “adverse action taken in


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response to actual speech,” “[t]he Government must show that the interests of

both potential audiences and a vast group of present and future employees in a

broad range of present and future expression are outweighed by that expression’s

‘necessary impact on the actual operation’ of the Government.” NTEU, 513 U.S. at

468 (emphasis added) (quoting Pickering, 391 U.S. at 571); see also City of San

Diego v. Roe, 543 U.S. 77, 80 (2004) (“[T]he Court has held that when

government employees speak or write on their own time on topics unrelated to

their employment, the speech can have First Amendment protection, absent

some governmental justification ‘far stronger than mere speculation’ in

regulating it.” (quoting NTEU, 513 U.S. at 465, 475)).12

      Applying that test, the Supreme Court held the honoraria ban

unconstitutional. The Supreme Court first held that because the ban was an

outright ban on all outside compensation, it was neither viewpoint- nor content-

based. But by denying compensation to all outside publications, the honoraria

ban induced the employees to curtail their speech if they wished to maintain their

employment. NTEU, 513 U.S. at 468-69. The Supreme Court noted that the

actual ban as implemented imposed a “far more significant burden” than



12It appears the only time the Eleventh Circuit has considered what test to use in
this context, it affirmed—in an unpublished opinion—the district court’s use of
the NTEU test. Davis v. Phenix City, 296 F. App’x 759, 761 (11th Cir. 2008) (per
curiam) (“We find no error in the district court's application of the principles
announced in [NTEU], in concluding that the regulations did not constitute a
prior restraint based on the jury's determination that a firefighter who had
noticed the chain of command could address elected officials directly without
obtaining permission.”).

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necessary when the ban was motivated to curtail a “small group of lawmakers

whose past receipt of honoraria motivated its enactment.” Id. at 469. There, the

Government did not cite any evidence of misconduct related to the rank-and-file

employees, but rather relied on “limited evidence of actual or apparent

impropriety by legislators and high-level executives, together with the purported

administrative costs of avoiding or detecting lower level employees’ violations of

established policies.” Id. at 472.

      Congress reasonably could assume that payments of honoraria to
      judges or high-ranking officials in the Executive Branch might
      generate a similar appearance of improper influence. Congress could
      not, however, reasonably extend that assumption to all federal
      employees below grade GS–16, an immense class of workers with
      negligible power to confer favors on those who might pay to hear
      them speak or to read their articles. A federal employee, such as a
      supervisor of mechanics at the Mint, might impair efficiency and
      morale by using political criteria to judge the performance of his or
      her staff. But one can envision scant harm, or appearance of harm,
      resulting from the same employee’s accepting pay to lecture on the
      Quaker religion or to write dance reviews.

Id. at 473.

      The Supreme Court also noted that the regulations excluded a variety of

performances and writings which would not appear to have a nexus to federal

employment, such as “sermons, fictional writings, and athletic competitions.” Id.

at 476. The Court found that these exclusions actually diminished the credibility

of the Government’s rationale that “paying lower level employees for speech

entirely unrelated to their work jeopardizes the efficiency of the entire federal

service.” Id.



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      At the hearing in this case, the City contended that NTEU is not the

appropriate test because while NTEU involved honoraria for speeches—and thus

burdened speech—the City’s Pre-Clearance Rules deal with outside

employment—which does not directly burden speech. This is a bit confusing,

because in its briefing, the City stated it was applying the “Pickering/NTEU test,”

and thus it appears this contention was accordingly waived. Defs.’ MSJ, Dkt. No.

[105-1] at 23. But even turning to the substance of that argument, the Court finds

that the Pre-Clearance Rules are appropriately analyzed under NTEU as, like

NTEU, the Pre-Clearance Rules prevent Plaintiff from speaking or writing for

money. See NTEU, 513 U.S. at 459-60 (assessing the constitutionality of an

honoraria ban, which was defined to include the “payment of money or any thing

of value for an appearance, speech or article,” and thus by its terms involved

outside employment).13 In other words, that the City uses the term outside



13The City also argued at the hearing that the Pre-Clearance Rules are not a prior
restraint (as opposed arguing that they are not an unconstitutional prior
restraint), and frankly the Court does not understand that argument. It appears
the City contends that the Pre-Clearance Rules are merely advisory—meaning,
they just require that the employee give notice to the employer that the outside
employment is occurring. But even taking the facts most favorable to the City,
that argument is implausible. The Pre-Clearance Rules themselves state that the
supervisor will “approve” or “deny” the outside employment, which by its very
nature means that the speech can be limited by the supervisor’s decision. See
Atlanta, Ga. Code of Ordinances §§ 114-436, 114--437; see also id. § 2-820(d)
(“City employment shall remain the first priority of the employee, and if at any
time the outside employment interferes with city job requirements or
performance, the official or employee shall be required to modify the conditions
of the outside employment or terminate either the outside employment or the
city employment.” (emphasis added)). By their very terms, the Pre-Clearance
Rules require pre-clearance, and the City contends it fired Plaintiff because it did

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employment in lieu of honoraria is mere semantics—both include speech outside

the workplace for money.14 And Section 2-280, by excluding individual speeches

from its provisions, implicitly applies to multiple speaking engagements. The

Pre-Clearance Rules clearly affect speech.

      Applying NTEU, the Court will now balance the interests of prospective

speakers and their audiences in commenting on public matters against the City’s

interests in promoting efficiency. NTEU, 513 U.S. at 466 (“When a court is

required to determine the validity of such a restraint, it must ‘arrive at a balance

between the interests of the [employee], of a citizen, in commenting upon matters

of public concern and the interest of the State, as an employer, in promoting the

efficiency of the public services it performs through its employees.’”(quoting

Pickering, 391 U.S. at 568)).




not seek this pre-clearance. See Neb. Press Ass'n v. Stuart, 427 U.S. 539, 588
(1976) (defining a prior restraint as rules which place “previous restraints upon
publication”). The City has also not submitted any evidence that the Rules have
been enforced in an advisory fashion. Thus, the Pre-Clearance Rules are a prior
restraint.
14The Court also finds that, whether the challenge is as applied or facial, the
NTEU test applies equally, and the Court is required to balance the interest of all
potential speakers in his position generally against that of the government. See
Sanjour v. E.P.A., 56 F.3d 85, 93 (D.C. Cir. 1995) (holding that in the NTEU
context, the facial and as applied distinction is blurred by the very nature of the
test which requires the court “look beyond the particular facts” of the plaintiff’s
case but not “so far as to include every possible application of the challenged
scheme,” as in NTEU, the Supreme Court declined to consider the interests
relevant to senior executive officials as they were not similarly situated to the
low-level employees who filed that case).

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                       1. Prospective Speaker and Audience’s Interests

      The interest of Plaintiff and all other prospective speakers under this policy

is the ability to engage in any private employment—including speaking or writing

on any subject—without prior approval by the City. The City diminishes this

interest by contending that the Pre-Clearance Rules do not “specifically target[]

expressive activities, let alone protected public speech.” Dkt. No. [105-1] at 26. It

contends that “[e]mployees remain free to speak, write, or otherwise express

whatever they choose without seeking approval pursuant to these provisions so

long as they do not receive compensation for doing so.” Id. But the Supreme

Court has already rejected this argument. In NTEU, the Supreme Court stated

that the ability to work for free did not somehow limit the plaintiffs’ interest

because it still curtailed their incentive for expression. 513 U.S. at 469 (“By

denying respondents that incentive, the honoraria ban induces them to curtail

their expression if they wish to continue working for the Government.”).

      Under NTEU, the Court must also weigh not only interests of “present and

future employees in a broad range of present and future expression” but also the

interests of “potential audiences.” Id. at 468. “This interest is manifestly great; as

numerous courts and commentators have observed, government employees are

in a position to offer the public unique insights into the workings of government

generally and their areas of specialization in particular.” Sanjour, 56 F.3d at 94.

Thus, the Court finds this interest weighs heavily.




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                       2. Government’s Interest

      In applying the NTEU balancing test, the Court must also identify the

government’s efficiency interest in its Pre-Clearance Rules. The City contends its

Pre-Clearance Rules “allow the City to ensure that its employees do not have

conflicts of interest or otherwise engage in outside activities that could

improperly influence or interfere with their official City duties (or even appear

to).” Dkt. No. [105-1] at 24. Other than this conclusory statement, the City

provides no support for its Pre-Clearance Rules. The City thus fails with respect

to its burden because it has not even attempted to produce any evidence for the

Court to weigh in evaluating its side of the equation outside of the policy’s stated

purpose (which does not include any specific factual findings).15 See NTEU, 513

U.S. at 475 (“[W]hen the Government defends a regulation on speech as a means

to redress past harms or prevent anticipated harms, it must do more than simply

posit the existence of the disease sought to be cured. It must demonstrate that the

recited harms are real, not merely conjectural, and that the regulation will in fact

alleviate these harms in a direct and material way.”). Unlike in NTEU, where the

government relied on various studies and legislative findings to support its ban

and it was still held unconstitutional, the City here has provided absolutely no




15The City was specifically asked to support its burden at the hearing. In
response, the City contended the policy did not burden speech because it applied
broadly to outside employment. That position is squarely foreclosed by NTEU.
See supra.

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evidence to support the necessity of this ban, and this Court cannot speculate on

what evidence the City could have brought forward.

      In lieu of presenting evidence which supports its contention that the Rules

are necessary to prevent outside employment conflicts of interest, the City points

the Court to other courts that have upheld similar bans. See Gibson v. Office of

the Att’y Gen., 561 F.3d 920, 927 (9th Cir. 2009) (upholding the California Office

of Attorney General’s policy that employees obtain permission prior to engaging

in the private practice of law); Wolfe v. Barnhart, 446 F.3d 1096, 1106 (10th Cir.

2006) (“The importance of the government’s interest in avoiding impropriety or

the appearance thereof among its employees is well established.”); Williams v.

IRS, 919 F.2d 745, 745-47 (D.C. Cir. 1990) (upholding the IRS’s private

employment approval bar which prevented an IRS attorney from acting a class-

counsel in a private class action lawsuit pre-NTEU).

      But those cases cannot save the City. In Wolfe, the Tenth Circuit noted that

while the Supreme Court had struck down the honoraria ban in NTEU because

the government had not substantiated an actual risk of harm caused by the

receipt of honoraria, that concern was not present in Wolfe because the provision

was tailored to preventing only compensation for expressive activity which

“relates to the employee’s official duties.” 446 F. 3d at 1106. Like NTEU, the City’s

ban bars all outside employment without regard to its relation to the employee’s

official employment. See Atlanta, Ga. Code of Ordinances § 2-280(d).




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      And in Gibson, the outside employment ban was limited to the private

practice of law—plainly necessary to rule out conflicts of interest with its client—

and was limited to law practice; all other outside employment was permissible.

561 F.3d at 927-28. Williams is similarly distinguishable because, beyond the fact

it arose pre-NTEU, D.C. Circuit held that the plaintiff did not have a First

Amendment right to act as counsel for others while working for the government,

while it is plain that this bar would prevent speech. Essentially, then, the Court is

left with mere assertions by the City that there is a wrong to be cured. But the

Supreme Court has said that is not enough. The City’s interest as presented is

thus relatively weak.

                        3. Balancing

      The Court finds that the balance weighs in the potential speaker and

audience’s favor. In conducting NTEU balancing, “courts must consider whether

the challenged statute or regulation is tailored to address the harm that the

government allegedly aims to protect.” Sanjour, 56 F.3d at 97; see id. (“[T]his

[tailoring] requirement appears close to the heart of the Supreme Court's

decision in NTEU.”). The Court finds that these Pre-Clearance Rules are not

properly tailored in light of Defendants’ stated rationale that the policy’s aim is to

prevent conflicts of interest.

      First, the Pre-Clearance Rules are underinclusive. Pursuant to Section 2-

820(d), high-level employees are not required to obtain permission to engage in

single speaking engagements or to participate in conferences or professional


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panels. This exception renders the policy underinclusive, because it is entirely

plausible that a one-time speaking engagement could create more of a conflict for

the City than full-time employment. For instance, under the plain text of Section

2-820(d), it would be permissible for a high-level employee to speak in return for

compensation at a different potential governmental contractor without Board of

Ethics approval every week, so long as the income was later reported.

      And the Rules are also overinclusive. Section 2-280(d) applies to all

outside employment even if it is plainly untethered from the employee’s job. This

policy would prevent an employee from writing and selling a book on golf or

badminton on his own time and, without prior approval, would subject him to

firing. It is unclear to the Court how such an outside employment would ever

affect the City’s ability to function, and the City provides no evidence to justify it.

      When comparing the potential speaker and audience’s interests against the

City’s failure to proffer any evidence to support its poorly tailored Pre-Clearance

Rules, the Court finds that the NTEU balancing weighs in Plaintiff’s favor. The

potential for stifled speech far outweighs an unsupported assertion of harm. The

Court thus GRANTS Plaintiff’s Motion for Summary Judgment on its Prior

Restraint challenge to the City’s Pre-Clearance Rules, and DENIES Defendants’

Motion on the same ground.

                ii. Unbridled Discretion

      Plaintiff additionally claims that the Pre-Clearance Policies are

unconstitutional as content-based restrictions in that they grant unbridled


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discretion to the City to approve or deny outside employment requests. “The

infirmity flowing from ‘unbridled discretion’ is that it allows the government

official to reject or limit [] application[s] based on improper content based

considerations.” Bloedorn v. Grube, 631 F.3d 1218, 1236 (11th Cir. 2011) (citing

Thomas v. Chicago Park Dist., 534 U.S. 316, 323 (2002)).

      To determine unbridled discretion, the Eleventh Circuit first instructs

courts to look to the “purpose behind the regulation.” Id. at 1236 (quoting Cooper

v. Dillon, 403 F.3d 1208, 1215 (11th Cir. 2005)). “And, ‘[a]s a general rule, laws

that by their terms distinguish favored speech from disfavored speech on the

basis of the ideas or views expressed are content based.’” Id., 631 F.3d at 1236

(quoting Cooper, 403 F.3d at 1215). “To avoid unbridled discretion, the permit

requirements should contain narrowly drawn, reasonable, and definite standards

to guide the official’s decision.” Id. at 1236 (citing Burk v. Augusta–Richmond

Cty., 365 F.3d 1247, 1256 (11th Cir. 2004)). The Eleventh Circuit also considers

the actual manner in which the policy is employed by the city, not just the text.

Id. at 1237 (citing Forsyth Cty. v. Nationalist Movement, 505 U.S. 123, 131 (1992)

for the proposition that “in evaluating a claim of ‘unbridled discretion,’ [ ] ‘we

must consider the [government’s] authoritative constructions of the ordinance,

including its own implementation and interpretation of it’”).

      Here, the City has set out its Pre-Clearance Rules in Sections 2-820(d) and

114-436 to 114-437. As set out in Section 2-802, the City’s purpose in enacting

those rules is as follows:


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      It is the purpose of this division to promote the objective of
      protecting the integrity of the government of the city by prohibiting
      any official or employee from engaging in any business, employment
      or transactions, from rendering services or from having contractual,
      financial, or personal interests, direct or indirect, which are in
      conflict with or which would create the justifiable impression in the
      public of conflict with the proper discharge of the official or
      employee’s official duties or the best interest of the city or which
      would tend to impair independence or objectivity of judgment or
      action in the performance of official duties. It is also the purpose of
      this division to require disclosure of the assets and income of elected
      officials and certain employees so that the public may review actual
      and potential conflicts of interest. Finally, it is the purpose of this
      division to provide for an orderly and fair process for raising and
      addressing ethical questions and for disciplining those officials and
      employees and other persons who violate these standards of
      conduct.

Atlanta, Ga. Code of Ordinances § 2-802. In other words, its stated purpose is to

eliminate any actual or appearance of impropriety. See id.

      As an initial matter, Section 2-820(d)—the provision that requires Plaintiff

to seek pre-approval from the Board of Ethics—does not define any standards for

the Board to apply. The above purpose is not specifically referenced as the

guidepost that the Board should use in making its decision. This ultimately could

result in inconsistent results and does not provide the Board any standards to use

in defining what a “conflict” would be, assuming the purpose is the relevant

standard.

      But even if the Court were to import the standards from Sections 114-436

and 114-437, many of these provisions do not set out objective standards for the

supervisor to employ. For instance, the provisions state that the employment

“shall not interfere with or affect the performance of the employee’s duties,” and


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“shall not involve a conflict of interest or a conflict with the employee’s duties,”

but it does not set out what constitutes such an interference or conflict. This does

not pass constitutional muster.

      Taking the facts most favorable to Defendant, the Court finds that the

City’s Pre-Clearance Rules invite unbridled discretion. Thus, the Court GRANTS

Plaintiff’s Motion for Summary Judgment on its Unbridled Discretion challenge

to the City’s Pre-Clearance Rules, and DENIES the City’s Motion on the same

ground.

               iii. Free Exercise

      Plaintiff contends that by disciplining Plaintiff pursuant to the Pre-

Clearance Rules, Defendants violated his right to freely exercise his religion

because the City targeted his expression of sincerely held religious beliefs

regarding marriage and sexuality. Defendants move for summary judgment on

this claim, arguing that the Pre-Clearance Rules in question are neutral and

generally applicable and thus do not impermissibly burden his beliefs.16




16At the hearing, Plaintiff contended for the first time that his Free Exercise of
Religion claim was a contention that Mayor Reed and his staff established an
unwritten religious test for the Fire Chief position, as distinct from their decision
under Pre-Clearance Rules. This contention is not fairly raised in Plaintiff’s
Response in Opposition to Defendants’ Motion for Summary Judgment—where
Plaintiff argued that the Pre-Clearance Rules were neither neutral nor generally
applicable. See Dkt. No. [143] at 38-42. Thus, to the extent Plaintiff intends to
make such a claim, the Court finds it was waived as Defendants did not have fair
notice that Plaintiff intended to raise such a claim. See Compl., Dkt. No. [1] at 35-
38 (couching Plaintiff’s free exercise claim as a challenge to Defendant’s pre-
clearance rules and that such rules constituted an impermissible religious test).

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      The free exercise clause of the First Amendment provides that “Congress

shall make no law respecting an establishment of religion, or prohibiting the free

exercise thereof.” U.S. Const. amend I (emphasis added). “In addressing the

constitutional protection for free exercise of religion, our cases establish the

general proposition that a law that is neutral and of general applicability need

not be justified by a compelling governmental interest even if the law has the

incidental effect of burdening a particular religious practice.” Church of the

Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993) [hereinafter

Lukumi] (emphasis added).

      “To determine the object of a law, we must begin with its text, for the

minimum requirement of neutrality is that a law not discriminate on its face. A

law lacks facial neutrality if it refers to a religious practice without a secular

meaning discernable from the language or context.” Id. at 533. But facial

neutrality does not end the inquiry; equally barred by the Free Exercise Clause is

masked governmental hostility. Id. at 534. To that end, “[t]he Court must survey

meticulously the circumstances of governmental categories to eliminate, as it

were, religious gerrymanders.” Id. (quoting Walz v. Tax Comm’n of N.Y. City, 397

U.S. 664, 696 (1970) (Harlan, J., concurring)).

      The Supreme Court has also stated that in determining the provision’s

object, courts may draw on an equal protection analysis to determine

discriminatory intent. Lukumi, 508 U.S. at 540. Direct and circumstantial

evidence can inform the City’s object in creating the Pre-Clearance Rules. Id.


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“Relevant evidence includes, among other things, the historical background of

the decision under challenge, the specific series of events leading to the

enactment or official policy in question, and the legislative or administrative

history, including contemporaneous statements made by members of the

decisionmaking body.” Id. at 540 (citing Arlington Heights v. Metro. Hous. Dev.

Corp., 429 U.S. 252, 266 (1977)).

      The court must also determine if the law is of general applicability. “[A] law

is generally applicable if it does not ‘in a selective manner impose burdens only

on conduct motivated by religious belief.’” Eternal Word TV Network, Inc. v.

Sec’y of U.S. Dep’t of Health & Human Servs., 818 F.3d 1122, 1164 (11th Cir. 2016)

(quoting Lukumi, 508 U.S. at 543).

      If a law is neutral and generally applicable, it must satisfy only rational

basis scrutiny—that is, the plaintiff must show “that there is not a legitimate

government interest or that the law is not rationally related to protect that

interest.” Eternal Word TV Network, Inc, 818 F.3d at 1164 (quoting

GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1255 n.21 (11th Cir.2012)). But

if not, the law must satisfy strict scrutiny in that it must be “justified by a

compelling governmental interest and must be narrowly tailored to advance that

interest.” Eternal Word TV Network, Inc., 818 F.3d at 1164 (quoting Lukumi, 508

U.S. at 531-32).

      The Court finds that the Pre-Clearance Rules are neutral and generally

applicable. They apply to all employees and all outside employment. The Rules do


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not address religion and were not passed because of religious motivations.

Rather, the Rules’ purpose is to prevent conflicts of interest and the appearance

of impropriety, which is a legitimate government interest the Rules are designed

to prevent.

      Plaintiff additionally argues that the Pre-Clearance Rules set out a

“religious test” in violation of the Constitution. See Torcaso v. Watkins, 367 U.S.

488, 494 (1961) (stating that “limiting public offices to persons who have . . . a

belief in some particular kind of religious concept” is a “historically and

constitutionally discredited policy”); see also U.S. Const. art. VI, cl. 3 (“[N]o

religious Test shall ever be required as a Qualification to any Office or public

Trust under the United States.”). But this argument misses the mark. As stated

above, the Pre-Clearance Rules are generally applicable. Plaintiff is not required

to maintain a specific religion in order to receive permission for outside

employment. The City’s Motion for Summary Judgment is GRANTED and

Plaintiff’s Motion for Summary Judgment is DENIED as to Plaintiff’s First

Amendment free exercise claim.

          e. Procedural Due Process

      The parties additionally move for summary judgment on Plaintiff’s

procedural due process claim. Plaintiff claims the City and Mayor Reed in his

individual capacity violated his right to procedural due process by suspending

and terminating him without providing him advance notice of an adverse

employment action or giving him a meaningful opportunity to respond, as


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required by City Ordinances. See Atlanta, Ga. Code of Ordinances §§ 114-528; id.

§ 2-820. Defendants in return argue that Plaintiff was not entitled to any

procedure because under the City’s Charter—regardless of what the City Code

states—he was an at-will public employee with no property interest protected by

the due process clause.

      The Fourteenth Amendment protects against the government’s deprivation

of liberty or property without procedural due process. Bd. of Regents v. Roth, 408

U.S. 564, 569 (1972). “To have a property interest in a benefit, a person clearly

must have more than an abstract need or desire . . . [or] unilateral expectation of

it.” Id. at 577. Rather, property interests “are created and their dimensions are

defined by existing rules or understandings that stem from an independent

source such as state law—rules or understandings that secure certain benefits and

that support claims of entitlement to those benefits.” Id.

      Under Georgia law, “a public employee has a property interest in

employment when that employee can be fired only for cause.” Wilson v. City of

Sardis, 590 S.E.2d 383, 385 (Ga. Ct. App. 2003); see also Warren v. Crawford,

927 F.2d 559, 562 (11th Cir. 1991) (applying Georgia law). However, absent “a

contractual or statutory ‘for cause’ requirement,” the employee may be

terminated at any time, for any reason. Wilson, 590 S.E.2d at 385.




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         Plaintiff contends that he has a property interest in his employment

because City Ordinance Section 114-52817 provides that no employee may be

terminated or otherwise adversely affected except for cause. Notably, the

definition of “employee” in Section 114-76, which applies to Section 114-528, is

broadly defined and includes “any person holding a position or employment with

the city.”

         Defendants argue that notwithstanding those provisions, the City Charter

provides that Plaintiff’s position is at will. City of Atlanta Charter, §§ 3-305(a), -

301(c) (stating the Fire Chief, as the department head, “may be removed at the

pleasure of the Mayor”). And given a conflict between the Charter and the Code,

the Charter controls under Georgia law. See O.C.G.A. § 36-35-3(a) (stating that

cities “shall have legislative power to adopt clearly reasonable ordinances,

resolutions, or regulations relating to its property, affairs, and local government

for which no provision has been made by general law and which are not

inconsistent with the Constitution or any charter provision applicable thereto.”);



17   Section 114-528 states in relevant part,

         No employee shall be dismissed from employment or otherwise
         adversely affected as to compensation or employment status except
         for cause. However, this shall not apply to employees dismissed or
         otherwise adversely affected due to curtailment of funds or reduction
         in staff or reorganization or demoted during a probationary period
         such that the employee is returned to the position held immediately
         prior to promotion when such action is in accordance with article IV
         of this chapter.

Atlanta, Ga. Code of Ordinances § 114-528.

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City of Buchanan v. Pope, 476 S.E.2d 53, 56 (Ga. Ct. App. 1996) (“Pope’s

contention that the police department manual creates permanent tenure in a

position upon good behavior is in direct conflict with the term of office provided

by the City’s charter, and the charter must prevail.”); see also Waters v. Buckner,

699 F. Supp. 900, 903 (N.D. Ga. 1988), aff'd, 889 F.2d 274 (11th Cir. 1989) (“City

ordinances which are inconsistent with a city charter are void.”).

      Defendant is correct under Georgia law. Because the Charter plainly states

that a department head may be removed with or without cause, Plaintiff does not

have a property interest in his employment. Plaintiff therefore cannot mount a

procedural due process claim. Defendants’ Motion is GRANTED and Plaintiff’s

Motion is DENIED on Plaintiff’s procedural due process claim.

   4. Conclusion

      Defendants City of Atlanta, Georgia and Mayor Kasim Reed’s Motion for

Summary Judgment [105] is GRANTED as to Plaintiff’s claims of First

Amendment free speech retaliation; First Amendment freedom of association

retaliation; viewpoint discrimination; violation of the First Amendment right to

the free exercise of religion and the no religious tests clause of article VI, cl. 3 of

the Constitution; and, violation of Fourteenth Amendment procedural due

process but DENIED as to Plaintiff’s First Amendment prior restraint and

unbridled discretion claims.

      Plaintiff’s Motion for Partial Summary Judgment [107] is DENIED as to

Plaintiff’s claims of First Amendment free speech retaliation; First Amendment


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freedom of association retaliation; viewpoint discrimination; violation of the First

Amendment right to the free exercise of religion and the No Religious Tests

clause of Article VI, ¶ 3 of the Constitution; and, violation of Fourteenth

Amendment procedural due process claims and GRANTED as to Plaintiff’s First

Amendment prior restraint and unbridled discretion claims.

      The parties are DIRECTED to file a Pre-Trial Order within 30 days of this

Order. This Pre-Trial Order should clearly present the issues the parties contend

remain given this Order.



      IT IS SO ORDERED this 20th day of December, 2017.




                                       _____________________________
                                       Leigh Martin May
                                       United States District Judge




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